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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                        CASE NO: 8:10-cr-339-T-26AEP

MICHAEL MEISTER
                                          /


                                        ORDER

       UPON DUE AND CAREFUL CONSIDERATION of the procedural history of

this case, together with the parties’ written submission, evidentiary presentations, and oral

arguments, and for the reasons stated orally on the record pursuant to Federal Rule of

Appellate Procedure 9(a)(1) at the conclusion of the evidentiary hearing held in this case

this day, which reasons are incorporated into this order for all purposes, the Court, in

response to the Eleventh Circuit Court of Appeals’ order of limited remand entered

October 17, 2013, and found at docket 229, determines by clear and convincing evidence

that Defendant does satisfy the criteria set forth in 18 U.S.C. § 3143(a)(1) for release

pending sentencing, and that notwithstanding the fact that one of his offenses of

conviction constitutes a crime of violence pursuant to 18 U.S.C. § 3143(a)(2), Defendant

has clearly shown in accord with 18 U.S.C. § 3145(c) that there are exceptional reasons

why his detention pending sentencing would not be appropriate.
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         The Clerk is directed to transmit a copy of this order, along with the transcript of

the evidentiary hearing, to the Eleventh Circuit Court of Appeals once the transcript is

filed.

         DONE AND ORDERED at Tampa, Florida, on November 15, 2013.



                                       s/Richard A. Lazzara
                                     RICHARD A. LAZZARA
                                     UNITED STATES DISTRICT JUDGE


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Counsel of Record
Eleventh Circuit Court of Appeals




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